Case 2:18-cv-11086-SFC-PTM ECF No. 36-9, PageID.1481 Filed 12/24/19 Page 1 of 9




                       Exhibit G
Case 2:18-cv-11086-SFC-PTM ECF No. 36-9, PageID.1482 Filed 12/24/19 Page 2 of 9
Case 2:18-cv-11086-SFC-PTM ECF No. 36-9, PageID.1483 Filed 12/24/19 Page 3 of 9
Case 2:18-cv-11086-SFC-PTM ECF No. 36-9, PageID.1484 Filed 12/24/19 Page 4 of 9
Case 2:18-cv-11086-SFC-PTM ECF No. 36-9, PageID.1485 Filed 12/24/19 Page 5 of 9
Case 2:18-cv-11086-SFC-PTM ECF No. 36-9, PageID.1486 Filed 12/24/19 Page 6 of 9
Case 2:18-cv-11086-SFC-PTM ECF No. 36-9, PageID.1487 Filed 12/24/19 Page 7 of 9
Case 2:18-cv-11086-SFC-PTM ECF No. 36-9, PageID.1488 Filed 12/24/19 Page 8 of 9
Case 2:18-cv-11086-SFC-PTM ECF No. 36-9, PageID.1489 Filed 12/24/19 Page 9 of 9
